Case 19-30094-btf7       Doc 9    Filed 03/28/19 Entered 03/28/19 16:02:31          Desc Main
                                  Document      Page 1 of 5



                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MISSOURI
                                  JOPLIN DIVISION

Winifred Margaret Williams,                 )
                                            )   Case No.: 19-30094-btf7
               Debtor,                      )
                                            )
Nationstar Mortgage LLC d/b/a Mr.           )   Chapter 7
Cooper, its successors and/or assignees,    )
                                            )
               Movant,                      )
                                            )
Winifred Margaret Williams, and             )
Patricia Ann Brown, Chapter 7 Trustee,      )
                                            )
               Respondents.                 )

                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       COMES NOW Movant, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors

and/or assigns (“Movant”), and states as follows in support of its Motion for Relief from the

Automatic Stay:

       1.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334 and

11 U.S.C. § 362 and Bankruptcy Rules 4001(a) and 9014.

       2.      On March 6, 2019, Winifred Margaret Williams (“Debtor”) filed for protection in

the Bankruptcy Court for the Western District of Missouri, under Chapter 7 of the Bankruptcy

Code, being bankruptcy case number 19-30094-btf7.

       3.      Patricia Ann Brown is appointed Chapter 7 Trustee.

       4.      Debtors are the owners of real estate located at 123 South Oronogo Street, Webb

City, MO 64870 (“the Property”). The Property is legally described as follows:

       All of Lot Numbered Two Hundred Seventy-Three (273) in Byer’s and Ball’s
       Addition to the City of Webb City, Jasper County, Missouri, according to the
       recorded plat thereof.
Case 19-30094-btf7       Doc 9    Filed 03/28/19 Entered 03/28/19 16:02:31           Desc Main
                                  Document      Page 2 of 5




       5.      Movant is the holder, or legal agent of the holder, of a note and deed of trust

executed by Debtors – attached are redacted copies of any documents that support the claim,

such as promissory notes, purchase order, invoices, itemized statements of running accounts,

contracts, judgments, mortgages, and security agreements in support of right to seek a lift of the

automatic stay and foreclose if necessary – encumbering the Property.

       6.      The estimated current market value of Debto’rs interest in the Property is

approximately $77,000.00.

       7.      According to Debtor’s Statement of Intention, the Property is to be surrendered.

       8.      As of March 8, 2019 the minimum outstanding obligation is:

       Principal Balance                                                      $60,366.38
       Interest                                                                $1,848.70
       Escrow Advance                                                            $824.56
       Accrued Late Charges                                                        $0.00
       Recoverable Fees                                                          $215.00
       Less Suspense                                                            ($35.58)

                                                    Total                     $63,219.06


       9.      As of March 8, 2019, the principal balance on the promissory note is

approximately $60,366.38, plus interest at the rate of 5.25%; and Debtors have failed to make

payments due on the promissory note; and, such payments are owing and delinquent from

October 1, 2018 to March 1, 2019 as set forth below:

       5 Regular monthly payments at $694.07 each:                              $3,470.35
       1 Regular monthly payments at $717.77 each:                                $717.77
       Attorney fees and costs for this Motion                                    $931.00
       Accrued Late Charges                                                         $0.00
       Less Suspense                                                             ($35.58)

                                                    Total                       $5,083.54

Furthermore, additional payments will become due according to the terms of the note.
Case 19-30094-btf7       Doc 9     Filed 03/28/19 Entered 03/28/19 16:02:31            Desc Main
                                   Document      Page 3 of 5



       10.     Movant does not have, and has not been offered, adequate protection for its

security interest in the Property. Absent an order, Movant's interest in the Property will be

irreparably injured and harmed.

       11.     The above Property is not of sufficient value over and above the deed of trust

indebtedness it secures plus the homestead exemption, if any, to be of any benefit for the estate.

       WHEREFORE, Movant respectfully requests that the Bankruptcy Court enter its Order:

granting this Motion for Relief from the Automatic Stay; and, terminating the automatic stay

pursuant to 11 U.S.C. Section 362(d) as to the Property and Movant; and, waiving the fourteen

(14) day stay imposed by FRBP 4001(a)(3); and, declaring that the Property is not property of

Debtors’ bankruptcy estate; and, permitting Movant to take such actions with respect to the

Property as are set forth under applicable non-bankruptcy law (i.e. modifications, deed in lieu,

short sales, and other loss mitigation options); and, permitting Movant to proceed with

foreclosure of its note and deed of trust pursuant to the laws of the State of Missouri; and,

granting such other and further relief as the Bankruptcy Court may deem just and proper.

                                              SHAPIRO & KREISMAN, LLC

                                      By:     /s/Zachary G. Edwards
                                              Zachary G. Edwards #63798
                                              13801 Riverport Drive, Suite 502
                                              Maryland Heights, MO 63043
                                              (314) 770-2120
                                              Fax (314) 770-1850
                                              S&K File No. 19-033525
                                              zedwards@logs.com
                                              Attorneys for Movant
Case 19-30094-btf7       Doc 9    Filed 03/28/19 Entered 03/28/19 16:02:31          Desc Main
                                  Document      Page 4 of 5



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed
electronically on March 28, 2019, with the United States Bankruptcy Court, and has been served
on the parties in interest via e-mail by the Court’s CM/ECF System as listed on the Court’s
Electronic Mail Notice List.

Attorney for Debtor:
Jonathan D. Bhend
Bhend Law Office
1801 West 32nd Street
Building B, Suite 204
Joplin, MO 64804

Chapter 13 Trustee:
Richard Fink
2345 Grand Blvd., Suite 1200
Kansas City, MO 64108

Office of the US Trustee:
Charles Evans Whittaker Courthouse
400 E. 9th Street
Room 3440
Kansas City, MO 64106

        I hereby certify that a true and correct copy of the foregoing document was filed
electronically on March 28, 2019, with the United States Bankruptcy Court, and has been served
by Regular United States Mail Service, first class, postage fully pre-paid, to the parties listed
below on March 28, 2019.

Debtor:
Winifred Margaret Williams
123 South Oronogo Street
Webb City, MO 64870
                                            /s/Zachary G. Edwards
                                            Adam S. Kerekanich #68602
                                            Zachary G. Edwards #63798
Case 19-30094-btf7      Doc 9   Filed 03/28/19 Entered 03/28/19 16:02:31             Desc Main
                                Document      Page 5 of 5



                       UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF MISSOURI
                                JOPLIN DIVISION

Winifred Margaret Williams,                  )
                                             )   Case No.: 19-30094-btf7
                     Debtor.                 )
                                             )   Chapter 7
                                             )

                                SUMMARY OF EXHIBITS

      The following exhibits in reference to the Motion of Nationstar Mortgage LLC d/b/a Mr.
Cooper, were electronically mailed on March 28, 2019:

       1.     Deed of Trust executed on October 2, 2009, by Donna R. Reed, a single woman
              and Winifred M. Williams, a single woman, in the amount of $77,569.00, and
              recorded on October 6, 2009, in Book 2146 at Page 1229-1238;

       2.     Assignment of Deed of Trust;

       3.     Note executed October 2, 2009, in the original amount of $77,569.00.

                                             SHAPIRO & KREISMAN, LLC

                                   By:       /s/Zachary G. Edwards
                                             Zachary G. Edwards #63798
                                             13801 Riverport Drive, Suite 502
                                             Maryland Heights, MO 63043
                                             (314) 770-2120
                                             Fax (314) 770-1850
                                             S&K File No. 19-033525
                                             zedwards@logs.com
                                             Attorneys for Movant
